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                     Exhibit 16
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       AL-QAIDA OPENLY TARGETED THE UNITED STATES
                           Evan F. Kohlmann (evan@globalterroralert.com)
                                          May 10, 2004

        Evan Kohlmann is an International Terrorism Consultant with over seven years of
experience tracking and analyzing Al-Qaida and other 21st century global terrorist movements.
During that time, he has lectured and given frequent briefings on transnational terrorist threats
to a diverse collection of academic, law enforcement, and intelligence bodies; including the U.S.
Department of Justice, the Federal Bureau of Investigation (FBI), the National Security Council,
and the Department of Homeland Security (DHS). Kohlmann has served as an approved expert
witness on behalf of federal prosecutors in various terrorism matters, including most recently in
the United States v. Masoud Khan et al. case (U.S. District Court for the Eastern District of
Virginia). Mr. Kohlmann additionally appears often as an expert guest on nationally televised
news programs broadcast on CNN, NBC, MSNBC, and the Fox News Channel. He holds a
B.S.F.S. in International Politics from the Edmund A. Walsh School of Foreign Service
(Georgetown University), and a J.D. from the University of Pennsylvania Law School.

         At the School of Foreign Service at Georgetown University, Mr. Kohlmann worked as a
research assistant for Dr. Mamoun Fandy, an acclaimed Egyptian political scientist and Middle
East expert. In April 2001, Kohlmann authored an International Politics Honors thesis at
Georgetown University titled “The Legacy of the Arab-Afghans: A Case Study.” The work
served as an analysis of the roots of Al-Qaida and how it has managed to infiltrate various
countries in the Middle East, North Africa, and Central Asia. The same year, he was also
certified by the Center for Muslim-Christian Understanding (CMCU) at Georgetown University
in Islamic studies after writing another short thesis on religious and social development in early-
to-mid 20th century Afghanistan.

        Starting in approximately 1999, as a function of studying Islamic militant activity on the
Internet, Mr. Kohlmann began a lengthy investigation of Al-Qaida terrorist financing and
recruitment activity in Europe, particularly in the United Kingdom, Italy, Germany, Bosnia, and
France. During the summer of 2002, Kohlmann went undercover in London to interview several
prominent radical Islamic leaders linked to Al-Qaida. One of the reclusive men he was able to sit
down and speak with, Abu Hamza Al-Masri, was recently arrested and removed from his North
London mosque after the discovery of an Al-Qaida terrorist plot involving the deadly poison
Ricin. Abu Hamza has also been linked to would-be shoe bomber Richard Reid and the indicted
Seattle-based Al-Qaida activist Ernest James Ujamaa.

        Mr. Kohlmann’s latest manuscript, Al-Qaida’s Jihad in Europe: The Afghan-Bosnian
Network, is slated to be released by Berg Publishers UK in July 2004. The book relates the story
of how radical terrorist groups based in Afghanistan used Bosnia as a jumping point to expand
into North America and Western Europe by training a clandestine army of North African terror
sleeper cells. In order to bring the story to life, Mr. Kohlmann has drawn from secret
biographies of fallen Al-Qaida militants, unpublished interviews of past and present Al-Qaida
leaders, and previously classified international law enforcement and intelligence reports.

        Further updates, news, and background on Evan Kohlmann can be found on the web at
http://www.globalterroralert.com.




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    -   April 1988 – Founding of Al-Qaida

           o By 1988, hundreds of radical Muslim exiles began arriving from various
             points in the Middle East and South Asia to join the ongoing anti-
             communist jihad in Afghanistan. The foreign fighters who formed bases
             and military training camps along the rugged, lawless Pakistan-Afghani
             border became known as the “Arab-Afghans” or the “foreign mujahideen”
             (“holy warriors”).
           o In 1988, the undisputed spiritual and political chief of the Arab-Afghans
             was the late Dr. Abdullah Azzam. Azzam, a Palestinian cleric who had
             lectured in Saudi Arabia, was the most famous and well-known
             international recruiter for the Afghan jihad. He schemed to use the
             conflict in Afghanistan as a means to create a multi-national radical
             Islamic army to conquer and annex secular “infidel” regimes across the
             Middle East, Asia, and North Africa.
           o Prior to 1988, Azzam’s headquarters was known as the Makhtab-e-
             Khidamat al-Mujahideen (MAK, Mujahideen Services Office), located in
             Peshawar, Pakistan.

                      Azzam was aided by a number of like-minded Arab mujahideen
                       commanders and Islamic clerics from Saudi Arabia, Syria, Egypt,
                       and elsewhere.
                      These men included Usama Bin Laden (a.k.a. Abu Abdullah),
                       Wael Jalaidan (a.k.a. Abul Hassan al-Madani), Tameem al-Adnani,
                       Enaam Arnaout (a.k.a. Abu Mahmoud al-Suri), Mohammed Loay
                       Bayazid (a.k.a. Abu Rida al-Suri), Abu Ubaidah Al-Banshiri, and
                       Mohammed Atef (a.k.a. Abu Hafs al-Masri).

           o Azzam’s proposed Arab-Afghan movement would also target any regimes
             that stood in the way of a Sunni Islamic revolution. On a fundraising trip
             to the United States, Azzam proclaimed to his followers, “Oh brothers,
             after Afghanistan, nothing in the world is impossible for us anymore.
             There are no superpowers or mini-powers—what matters is the willpower
             that springs from our religious belief.”1
           o In April 1988, Abdullah Azzam published his greatest manifesto in the
             MAK’s official newsletter, Al-Jihad Magazine. The document was
             appropriately titled “Al-Qaida”, meaning “the Solid Foundation.”

                      Azzam reasoned that every revolutionary ideology needs a rugged,
                       elite cadre to protect it, inspire it, and lead it to ultimate victory.
                       This Leninist-style vanguard, hardened by toil and sacrifice,
                       “constitutes the solid foundation for the desired society.”2


1
  Emerson, Steven. Jihad in America. SAE Productions (for PBS); Washington, DC. Originally aired
November 21, 1994. Running time: 1 hour.
2
  Azzam, Dr. Abdallah. “Al-Qa`ida.” Al-Jihad. No. 41; April 1988. Page 46.


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                      According to Azzam, the war in Afghanistan emblemized a divine
                       “trial by fire” of the vanguard; it was a test of their true
                       commitment to establish Islam at any cost. Only by continued
                       armed struggle would the unified strength of the Muslims be
                       brought to bear on their supposed enemies.3
                      In concluding, Azzam issued what he referred to as “the final call”:
                       “We shall continue the Jihad no matter how long the way is until
                       the last breath and the last beating of the pulse or we see the
                       Islamic state established.”4
                      English-language flyers celebrating Azzam’s declaration of the
                       founding of Al-Qaida were found at the Al-Kifah Refugee Center
                       in Brooklyn, NY—the U.S. branch office of the MAK.

           o One of Azzam’s top lieutenants, Tamim al-Adnani declared to a rapt
             audience later that year, “the best thing is [to] continue Jihad. Nothing but
             Jihad… Even after liberation of Afghanistan, even after the Islamic
             government, [the mujahideen] will not stop. They will go up to the
             Muslim countries of Russia, Islamic republics. They will go down to
             Palestine, to [Jerusalem].” Moreover, Al-Adnani offered this chilling
             addendum: “[if] Anybody stops in their way, Oh my God! Smash them!
             Any ruler, [if] he will not let us go, we will go by force! Jihad!”5

    -   August 1990

           o In the days following Saddam Hussein’s sudden invasion of Kuwait, Bin
             Laden and a number of his Afghan compatriots reportedly met with Prince
             Abdullah, the “effective regent” of Saudi Arabia. Bin Laden intended to
             offer the services of the Arab-Afghan mujahideen in expelling Saddam
             from Kuwait and defending the borders of the Saudi kingdom. He
             apparently intended to pre-empt an offer of military support against Iraq
             from Western “infidel” powers like the United States.6
           o Prince Abdullah did not seriously consider Bin Laden’s offer, but he was
             “smooth and conciliatory” in his refusal. According to eyewitnesses,
             Prince Abdullah noted that “[t]he family of Mohamed bin Laden have
             always been faithful subjects of our kingdom and have helped us greatly in
             our times of need… We are sure that nothing will be allowed to mar our
             good relations in the future.” Other Arab-Afghan commanders present at
             the meeting later discussed the measured yet quietly furious reaction of
             Bin Laden: “He was seething… You could see it in his eyes.”7

3
  Azzam, Dr. Abdallah. “Al-Qa`ida.” Al-Jihad. No. 41; April 1988. Page 46.
4
  Azzam, Dr. Abdallah. “Al-Qa`ida.” Al-Jihad. No. 41; April 1988. Page 46.
5
  Emerson, Steven. Jihad in America. SAE Productions (for PBS); Washington, DC. Originally aired
November 21, 1994. Running time: 1 hour.
6
  Burke, Jason. “The making of the world’s most wanted man.” The Observer (London). October 28,
2001.
7
  Burke, Jason. “The making of the world’s most wanted man.” The Observer (London). October 28,
2001.


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            o Within weeks, hundreds of thousands of troops from the U.S., Britain,
              France, and elsewhere began arriving in Saudi Arabia as part of a U.N.-
              mandated military operation to liberate Kuwait. These troops were
              billeted at foreign compounds and U.S.-run military bases in central and
              eastern Saudi Arabia.
            o Usama Bin Laden would later write in his 1998 declaration of war that
              “The Arabian Peninsula has never… been stormed by any forces like the
              crusader armies spreading in it like locusts, eating its riches and wiping
              out its plantations… the United States has been occupying the lands of
              Islam in the holiest of places, the Arabian Peninsula, plundering its riches,
              dictating to its rulers, humiliating its people, terrorizing its neighbors, and
              turning its bases in the Peninsula into a spearhead through which to fight
              the neighboring Muslim peoples.”

    -   October 1992 – The Sarajevo Shootout

            o In October 1992, a group of seven Arab-Afghan mujahideen engaged in a
              shootout with U.N. soldiers near the Sarajevo International Airport in
              Bosnia, near the suburb of Butmir. The October battle was memorialized
              and made relatively famous in a widespread propaganda and fundraising
              video distributed by Lajnat al-Birr al-Dawaliyya (a.k.a. Benevolence
              International, BIF).

                       The copies of the video in North America featured an unexplained
                        advertisement for an amusement park in Illinois, suggesting it had
                        been copied by a commercial video production studio in the mid-
                        western United States.
                       Short clips of the video were made available for download on the
                        former website of the BIF-Sudan office (http://www.bif-int.org).

            o The video documented dramatic scenes of frontline combat and interviews
              with Arab survivors who discussed the events that took place near
              Sarajevo. The seven mujahideen, led by Abul-Abbas al-Madani, included
              Abu Zubair al-Madani (a.k.a. Mohammed al-Habashi), “Abu Iyas,” and
              “Abu Marwan.”

                       Abu Zubair, a 24-year old Saudi and cousin to Usama Bin Laden,
                        was born and raised in the city of Medina. In 1985, at the age of
                        17, he traveled to Afghanistan and joined the Arab-Afghan
                        volunteer corps, spending most of the war in the vincinity of
                        Khost.8 Towards the end of the conflict, he personally participated
                        in the mujahideen battles for Jaji, Jalalabad, and Kabul. Abu
                        Zubair was one of the most famous of a group “notable

8
 Azzam Publications. “In the Hearts of Green Birds.” Audiocassette transliterated by Salman Dhia Al
Deen. See also: Institute for Study and Documentation. “The Balkan War.” Video produced by the
Committee for Islamic Benevolence, Saudi Arabia (Lajnat al-Birr al-Islamiyya).


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                          Mujahideen personalities” to participate in these celebrated combat
                          operations—that select group also included, to name a few, Shaykh
                          Abdullah Azzam and Bin Laden himself.9

                              •    In the fall of 1992, Usama Bin Laden personally ordered a
                                   former key Sudanese member of Al-Qaida—later turned
                                   government informant—Jamal Ahmed al-Fadl, to travel to
                                   nearby Zagreb, Croatia for consultations with key Arab-
                                   Afghan leaders operating as Al-Qaida emissaries in Bosnia,
                                   including Abu Zubair al-Madani.10
                              •    As per briefs published by the U.S. Attorney’s office in
                                   Chicago, during that conference, Jamal al-Fadl was advised
                                   by several senior Al-Qaida members that “al Qaeda was
                                   seeking to establish training camps in Bosnia, forge
                                   relations with relief agencies in Bosnia and establish
                                   businesses to support al Qaeda economically.”11 Al-Fadl
                                   was also told by these operatives that Al-Qaida’s primary
                                   goal in Bosnia “was to establish a base for operations in
                                   Europe against al Qaeda’s true enemy, the United States.”
                                   Not long afterward, Abu Hajer al-Iraqi (Mamdouh
                                   Mahmud Salim, one of the original founders of Al-Qaida in
                                   Afghanistan) confirmed to al-Fadl that Abu Abdel Aziz had
                                   spoken the truth, and Usama Bin Laden’s interest in Bosnia
                                   was largely as a staging area from which to strike at
                                   America.12

             o As later accounts of the October 1992 battle in Sarajevo proved, Abu
               Zubair and Abul-Abbas were not in fact killed by the Serbs: rather,
               apparently in the midst of the exchange, nearby “infidel UN forces”—
               among them Egyptian soldiers—intervened and attempted to disrupt the
               battle. Abu Zubair and Abul-Abbas engaged them in a shootout and were
               both killed by these United Nations troops.
             o For their part, the UN troops in question apparently acted in self-defense.
               On October 16, at about the same time as the “Battle of Butmir,” UN
               peacekeepers reported coming under significant fire near the airport. It
               was not immediately known who shot at the peacekeepers, but some
               Bosnian troops had earlier pledged to deal with UN forces exactly as their
               Serb enemies if the international peacekeepers tried to forcibly open the

9
   Azzam Publications. “Saudi tortures rape mujahideen during interrogation.” February 1999.
http://www.azzam.com.
10
   See Chapter 4: “The Battle Begins.”
11
   “Government’s Evidentiary Proffer Supporting the Admissibility of Co-Conspirator Statements.” United
States of America v. Enaam M. Arnaout. United States District Court Northern District of Illinois, Eastern
Division. Case #: 02 CR 892. January 31, 2003. Page 24-25.
12
   “Government’s Evidentiary Proffer Supporting the Admissibility of Co-Conspirator Statements.” United
States of America v. Enaam M. Arnaout. United States District Court Northern District of Illinois, Eastern
Division. Case #: 02 CR 892. January 31, 2003. Page 24-25.


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                 road to the airport.13 The following day, the UN formally accused
                 Bosnian government soldiers of firing at UN personnel.14 Available
                 evidence suggests that, rather than Bosnian military troops, it may have
                 been, in fact, primarily Arab fighters who were to blame for the
                 unprovoked attack.15

     -   December 1992 – Blast in Aden

             o A bomb attack at a hotel in Aden, Yemen narrowly missed 100 American
               soldiers who were staying there en route to peacekeeping duties in nearby
               Somalia. The scheme nevertheless caused an explosion that killed two
               Australian tourists.
             o In the aftermath of the Aden bombings, Yemeni authorities arrested
               hundreds of suspected Islamic militants and uncovered several major
               weapons caches. The evidence seized by the Yemenis allegedly pointed to
               a group of Arab-Afghan veterans—compatriots of Usama Bin Laden—
               who had gathered in Yemen under the leadership of Shaykh Tariq Bin
               Nasir Bin Abdullah al-Fadli, a local leader from a prominent family in the
               Abyan province. Al-Qaida was known to have an open alliance with the
               Yemeni Islamic Jihad and the Aden-Abyan Islamic Army, both known to
               operate in this same region. Yemeni authorities eventually besieged
               Shaykh Tariq’s fortress-like compound in the rugged Maraqasha
               mountains to little avail.16
             o The bombing in Aden was the apparent result of a fatwah (religious edict)
               issued on behalf of Al-Qaida in late 1992. The fatwah, of unidentified
               origin, condemned U.S. military forces for invading Somalia and the horn
               of Africa in the second-phrase of its purported campaign to “take [over]
               the Islamic countries.” Former senior Al-Qaida member Jamal Al-Fadl
               testified in federal court that this fatwah was specifically discussed in Al-
               Qaida terrorist guesthouses in Khartoum, Sudan—and endorsed by Al-
               Qaida’s then-chief military commander, Abu Ubaidah Al-Banshiri.17

     -   February 1993 – World Trade Center bombing

             o On February 26, 1993, disciples of the Arab-Afghan movement calling
               themselves the “Fifth Battalion of the Liberation Army” executed their
               first successful terrorist strike on the American homeland. A rental truck
               packed with powerful explosives detonated in an underground parking lot
               below the World Trade Center, killing six bystanders and causing havoc in
               downtown Manhattan. A claim of responsibility delivered to New York
13
   “U.N. peacekeeping forces come under fire at airport.” Associated Press. October 16, 1992.
14
   Knoy, Laura. “Weekend Edition.” National Public Radio. October 17, 1992.
15
   Institute for Study and Documentation. “The Balkan War.” Video produced by the Committee for
Islamic Benevolence, Saudi Arabia (Lajnat al-Birr al-Islamiyya).
16
   Whitaker, Brian. “Yemen and Osama Bin Laden.” Yemen Gateway. August 1998.
17
   United States v. Usama bin Laden, et al. S(7) 98 Cr. 1023 (LBS). United States District Court, Southern
District of New York. Trial Transcript, February 6, 2001. Page 268.


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                 media sources was signed by “Abu Bakr al-Makki”—a pseudonym
                 meaning “Father of Bakr from Mecca, Saudi Arabia.”
             o   The chief bombmaker—later determined to be Ramzi Yousef18—was an
                 ambitious graduate of Al-Qaida’s Al-Sadda training camp, not to mention
                 the nephew of senior Al-Qaida terrorist mastermind Khalid Shaykh
                 Mohammed, who “[t]hrough additional intelligence and investigative
                 efforts in 1995… was also connected to the first World Trade Center
                 bombing.”19 Under interrogation, Ramzi Yousef admitted having fled
                 Kuwait following the 1990 Iraqi invasion and enrolling in a six-month
                 comprehensive training course (among a class of 55 other jihadi recruits)
                 at various mujahideen camps in Afghanistan, learning “explosives,
                 defensive tactics, weapons use, etc.”20
             o   Several Arabic bomb-making manuals destined for Yousef were
                 discovered inside an envelope marked with the letterhead of Lajnat Al-
                 Birr Al-Islamiyya, (a.k.a. Benevolence International Foundation), the now
                 designated Al-Qaida financial front group.21
             o   In later interrogations with Philippine police, a terrorist co-conspirator
                 testified that “the person who provided financial support to [Ramzi
                 Yousef] during the latters stay in New York in preparation for the WTC
                 bombing, was a Saudian National who was arrested in Saudi Arabia
                 sometime in February 1993 just after the WTC bombing. However said
                 person was later released by Saudi Arabian authorities.”22
             o   Other co-conspirators in the terror attack were avid followers of the blind
                 Shaykh Omar Abdel Rahman (not to mention, graduates of Al-Qaida-
                 affiliated militant camps in Afghanistan).
             o   Following his later capture in Pakistan, Yousef told FBI agents that “he
                 wished… to cause the tower to fall… [h]e indicated that, had he been able
                 to obtain additional financing, he would have been able to construct the
                 device in such a way as to focus more of the blast horizontally, against the
                 ‘beam’ of the World Trade Center tower, and would have been able to
                 topple one tower into the other.”23 Yousef envisioned the flaming
                 wreckage of the twin structures crashing down upon the Wall Street
                 district, crippling the economic heart of America and killing perhaps as
                 many as 250,000 innocent people. When an FBI agent pointed out the
                 still-standing Trade Center to Yousef on his way to trial in 1995, he
18
   Ramzi Yousef was born in Kuwait, but is originally of Pakistani descent.
19
   “Report of the Joint Inquiry into the Terrorist Attacks of September 11, 2001.” House Permanent Select
Committee on Intelligence/Senate Select Committee on Intelligence. Senate Report No. 107-351/House
Report No. 107-792. 107th Congress, 2nd Session; December 2002. Page 32.
20
   FBI Transcript of interview of Ramzi Ahmed Yousef. February 7, 1995. Page 3.
21
   Government Exhibit 2800-A. United States of America v. Mohammed Salameh. United States District
Court for the Southern District of New York. Case #: S5 93 CR 180.
22
   “After Intelligence Operation Report re Neutralization of International Terrorists.” Memorandum sent to
the Chief of the Philippine National Police. Republic of the Philippines, Department of the Interior and
Local Government; National Police Commission, National Headquarters Philippine National Police
Intelligence Command. Camp Crame, Quezon City. February 27, 1995.
23
   FBI Transcript of interview of Abdul Basit Mahmoud Abdul Karim (a.k.a. Ramzi Ahmed Yousef).
February 14, 1995. Page 2.


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              thought for a moment and replied, “Next time, if I have more money… I’ll
              knock it down.”24
            o At the time, Yousef also acknowleged to the FBI that “he was familiar
              with the name Usama Bin Laden” but refused to elaborate further.25

     -   Mid-1993 – The New York Jihad Cell

            o In the summer of 1993, many New Yorkers were shocked to learn about a
              second incredible terror conspiracy that was only stopped by the very
              admirable work of one key federal informant and a team of government
              agents and officials determined to prevent another World Trade Center
              bombing. The new plots—linked to the first World Trade Center
              bombing—aimed at bringing down a number of other New York
              landmarks simultaneously, including the United Nations building, 26
              Federal Plaza, the Holland and Lincoln Tunnels, and even a planned attack
              on the motorcade of visiting Egyptian President Hosni Mubarak (the
              “Golden Cow” operation). The conspirators in the 1995 plot had done
              their homework: they had conducted personal surveillance operations on
              their would-be targets, carefully noting the positions of police officers,
              security guards, and other such obstacles in their path to paradise.
            o The plan to destroy the Holland and Lincoln Tunnels was particularly
              intricate. Painstaking details were gone over at great length, even
              including reviewing schedules for lane closures and tunnel cleanup and the
              positions of covert surveillance cameras in the tunnels. Conspirators
              discussed with FBI informant Emad Salem the idea of placing large
              explosives in automobiles, which would then “pretend” to break down in
              the middle of the Tunnels, near the halfway point between New York and
              New Jersey. In FBI wiretaps, Siddig Ali, later convicted for his role in the
              abortive plots, narrated the plan:

                        “He opens the hood in front… there is something called… [t]he
                        distributor… he will remove it, because if they come, they will try once
                        more. Another thing: he should shut the doors and lock them… He has
                        to make sure that the doors are locked, locked, locked, and the keys are
                        inside.”

            o The driver would proceed to start a small fire in the vehicle and quickly
              depart in a passing getaway car. Siddig Ali also explained the need for the
              diversionary fire:

                        “We will take the car and fill it with gas… All of the firemen are here,
                        and the police, all of them are here. If we set a fire here for them, we
                        will keep them busy with it… we set a fire here for them, all the people
                        will suffocate.”

24
  Waller, Douglas. “Inside The Hunt For Osama.” Time. December 21, 1998. Page 32.
25
  FBI Transcript of interview of Abdul Mahmoud Basit Abdul Karim: “Aircraft in Flight.” February 28,
1995. Page 19.


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            o Siddig Ali and his cohorts casually joked how they would cause the entire
              of downtown New York to “flood” in a disastrous fashion. “You will be
              swimming,” he cracked to Emad Salem.

                         “It is going to be a hole… I should cut off this artery completely…
                         Billions of dollars. Even one Tunnel, its daily revenue is approximately
                         $400,000… the economy will come to a standstill… all of the trucks
                         which carry supplies of the daily life, such as vegetables, milk, and so
                         and so on… People will not be able to go to the World Trade Center and
                         New York, not to Wall Street… there will be no transportation… the
                         World Trade Center, compared to this, will [be] like a dwarf… the water
                         will be going everywhere. Everything will be broken into smithereens,
                         everything.”26

            o Siddig and his fellow terror conspirators also had carefully studied the
              security routes taken by world political leaders during visits to New York.
              Luckily, the 1993 conspirators did not, at the time, possess the proper
              means to bring down one of these aircraft. Siddig explained in one FBI
              wiretap:

                         “When Clinton comes here, how he comes? They come, this is their
                         system now, he comes with a helicopter from the airport, La Guardia
                         Airport… or there are private airports, there is an airport in New Jersey
                         called Outerboro. It is a small private airport, right here, aircraft like
                         U.S. 1, U.S. Air Force 1… So there are small helicopters which pick
                         them up from the airport and take them to… the one next to the [South]
                         Ferry.”

            o Two of the key players in the latter set of 1993 terror plots were Siddig
              Ibrahim Siddig Ali, a senior assistant to Shaykh Omar Abdel Rahman; and
              Clement Rodney Hampton-el (a.k.a. Dr. Abdul Rashid Mujahid), an
              American Muslim convert who had fought with the Arab-Afghan
              mujahideen against the Soviet army.
            o On January 16, 1993, only weeks prior to the first explosion in Manhattan,
              Siddig Ali had organized a charitable fundraising lecture given by Shaykh
              Omar Abdel Rahman at Public School 179 in Brooklyn.27 As part of a
              “Conference on Solidarity with Bosnia/Herzogovina,” the blind Shaykh
              addressed his audience and ridiculed the “Western mass media” for
              “accusing those who perform Jihad for the sake of God of being
              terrorists.” Rahman countered, “we welcome being terrorists. And, we do
              not deny this charge to ourselves... we must be terrorists and we must
              terrorize the enemies of Islam and to frighten them and to disturb them
26
   FBI Transcript of conversation involving Emad Salem, Siddig Ibrahim Siddig Ali, Mrs. Siddig Ali,
Victor Alvarez, Amir Abdelgani, and Fares Khallafalla. June 19, 1993. United States v. Omar Ahmad Ali
Abdel Rahman et al. S3 93 Cr. 181(MBM). Government Exhibit 352-T. Page 10.
27
   Sennott, Charles M. “Terror Report: Mastermind held public benefits.” The New York Daily News.
June 26, 1993.


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              and to shake the earth under their feet.” He directed listeners to “ready
              your strength to the utmost of your power, including steeds of war, with
              which you frighten the enemies of Allah, your enemies.”28
            o Pointing to the war Bosnia-Herzegovina, Shaykh Omar Abdel Rahman
              attempted to identify the international adversaries to Islam: “Who is the
              one who is fighting the Muslims? And, who is the one who wants to
              destroy them? There are two main enemies. The enemy who is at the
              foremost of the work against Islam are America and the Allies. Who is
              assisting the Serbs? And who is providing them with weapons and food?
              Europe, and behind it is America.”29
            o Some of the funds collected by Siddig Ali and Hampton-el ostensibly to
              help the suffering Bosnian Muslims were actually being diverted to
              finance the costs of a much grander jihad, with targets that included the
              World Trade Center in New York. At the time, the two men were seeking
              to bankroll clandestine Arab mujahideen training camps setup inside the
              United States. The recruits consisted primarily of Muslim-American
              volunteers from the northeast (including relatives and accomplices of the
              1993 World Trade Center bombers).30 In a wiretapped conversation with
              an FBI informant, Siddig explained, “Our goal is that these people get
              extensive and very, very, very good training, so that we can get started at
              anyplace where Jihad is needed… And after they receive their training,
              they go to Bosnia, I mean, they depart… And whoever survives, I mean,
              could come and… [instruct] somewhere else, or Egypt, or any other place,
              etc.”31
            o In September 2000, a new videotape mysteriously surfaced of Bin Laden
              and other terrorist leaders meeting in Afghanistan. Bin Laden addressed
              the camera and promised “to work with all our power to free our brother,
              Sheikh Omar Abdel Rahman, and all our prisoners in America, Egypt, and
              Riyadh.”32 Also in attendance at the meeting was Shaykh Omar’s son
              Asadullah, who vigorously applauded Bin Laden’s words and urged
              Muslims to “move forward and shed blood.”33 The September 2000 video
              was widely aired on Arab news channels and by ABC News in the U.S.




28
   Shaykh Omar Abdel Rahman. “The Inevitability of Jihad for the Solution of our Problems and for the
Frightening of the Enemies of God.”             Speech given at the Conference on Solidarity with
Bosnia/Herzogovina. January 16, 1993.
29
   Shaykh Omar Abdel Rahman. “The Inevitability of Jihad for the Solution of our Problems and for the
Frightening of the Enemies of God.”             Speech given at the Conference on Solidarity with
Bosnia/Herzogovina. January 16, 1993.
30
    The volunteers in New Bloomfield included Mohammed Abouhalima (the brother of Mahmud
Abouhalima), Fares Khallafalla, Tarig Elhassan, Amir Abdelgani, Fadil Abdelgani, and Abdo Mohammed
Haggag.
31
   FBI Transcript of conversation between Emad Salem and Siddig Ibrahim Siddig Ali. United States v.
Omar Ahmad Ali Abdel Rahman et al. S3 93 Cr. 181(MBM). Government Exhibit 641-1T. Pages 19-21.
32
   “Bin Laden vows to free Islamist sheikh jailed in US.” Agence France Presse. September 22, 2000.
33
   Cooley, John K. “We Will Free Our Brothers.” ABC News. September 25, 2000.


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     -   October 1993 – Blackhawk Down in Mogadishu

             o In late 1992, former senior Al-Qaida member Jamal Al-Fadl was present
               for a meeting with other terrorist leaders at one of Bin Laden’s
               guesthouses in Khartoum, Sudan. Al-Fadl was told by Al-Qaida’s former
               military commander Abu Ubaidah Al-Banshiri (flanked by among others,
               Usama Bin Laden himself) that Al-Qaida desired for the U.S. to embroil
               itself in Somalia in order “that we make a big war with them.”34
             o In late 1993, Bin Laden announced to a large group of 30-40 Al-Qaida
               members that “the American army now they came to the Horn of Africa,
               and we have to stop the head of the snake… the snake is America, and we
               have to stop them. We have to cut the head and stop them.”35
             o In 1993, senior Al-Qaida member Abu Talha Al-Sudani elaborated to
               Jamal Al-Fadl that Al-Qaida planned to dispatch a number of its terrorist
               commanders to Somalia for a proposed operation. The individuals
               included Abu Hafs Al-Masri (second-in-command of Al-Qaida’s military
               wing), Saif Al-Islam Al-Masri (a well-known Egyptian Al-Qaida military
               leader), Abu Mohammed Al-Yemeni, and Shaykh Youssef Al-Ayyiri
               (personal bodyguard to Usama Bin Laden and also Al-Qaida’s future
               military chief in Saudi Arabia).36
             o In October 1993, Somali militiamen armed with Rocket Propelled
               Grenades (and allegedly trained by Al-Qaida) shot down several U.S.
               Blackhawk helicopters involved in an extraction mission relating to
               ongoing peacekeeping efforts. The ensuing street battle killed 18 U.S.
               servicemen and possibly thousands of militiamen and local residents.
             o In late 1993, Abu Hafs Al-Masri returned from Somalia to Sudan and
               spoke with Jamal Al-Fadl and others in Al-Qaida. According to Al-Fadl,
               Abu Hafs bragged that “everything happening in Somalia, it’s our
               responsibility… al Qaeda group, our group.”37
             o In 1994, Jamal Al-Fadl was reunited with another supposed Mogadishu
               veteran, Abu Talha Al-Sudani. Al-Fadl understood that he was to help
               Abu Talha buy a house in Khartoum granted as “the reward [for] what
               happened [in] Somalia.”38




34
   United States v. Usama bin Laden, et al. S(7) 98 Cr. 1023 (LBS). United States District Court, Southern
District of New York. Trial Transcript, February 6, 2001. Page 280-285.
35
   United States v. Usama bin Laden, et al. S(7) 98 Cr. 1023 (LBS). United States District Court, Southern
District of New York. Trial Transcript, February 6, 2001. Page 280-285.
36
   United States v. Usama bin Laden, et al. S(7) 98 Cr. 1023 (LBS). United States District Court, Southern
District of New York. Trial Transcript, February 6, 2001. Page 280-285.
37
   United States v. Usama bin Laden, et al. S(7) 98 Cr. 1023 (LBS). United States District Court, Southern
District of New York. Trial Transcript, February 6, 2001. Page 280-285.
38
   United States v. Usama bin Laden, et al. S(7) 98 Cr. 1023 (LBS). United States District Court, Southern
District of New York. Trial Transcript, February 6, 2001. Page 280-285.


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     -   February 1994 – E-mail warnings from Kifah Jayyousi

             o Kifah Jayyousi was the former head of the San Diego, CA-based group
               known as the American Islamic Group (AIG). AIG, acting as the U.S.
               branch of both the Egyptian Al-Gama`at Al-Islamiyya and the Algerian
               Armed Islamic Group (GIA), distributed terrorist communiqués, raised
               money for Al-Qaida-linked mujahideen movements in Algeria, Bosnia,
               and Chechnya, and recruited actual terrorists from within the United States
               during the mid-1990s. AIG has also been linked to indicted Al-Qaida
               terrorist suspect Adham Hassoun in Miami, FL.
             o In February 1994, Jayyousi wrote a radical e-mail concerning the details
               of a planned resurgent Muslim empire. He explained, “I am a Muslim
               citizen of the great upcoming Islamic State.” He urged other supporters of
               Islamic Khalifah to “be an achiever and help form it… Help rid the land of
               [the infidels] and [the hypocrites].” More specifically, Jayyousi wrote, “as
               to [Egyptian President Hosni] Mubarak, may Allah curse him, his
               departure or assassination, [God willing], will be a major Fath or victory
               to strengthen Islam.” Moreover, although Egypt and other secular Middle
               Eastern regimes were deemed to be troublesome adversaries by Jayyousi,
               he made a point to “reiterate that the west is Islam’s enemy No.1.”39

     -   December 1994 – Foiled GIA Hijacking

             o Usama Bin Laden and his cohorts did not take the arrest and federal
               conviction of the Egyptian Shaykh Omar Abdel Rahman in the U.S.
               lightly. Following the detention of the blind Shaykh in wake of the 1993
               World Trade Center bombing, Al-Qaida turncoat Jamal al-Fadl attended
               leadership meetings at Al-Qaida guesthouses in Khartoum, Sudan with
               other senior Bin Laden aides. According to al-Fadl, at the guesthouses,
               “they talk about Sheikh Omar he arrest[ed] and we have to do something,
               and that’s very sad and that’s very bad… They talk about what we have to
               do against America because they arrest Sheikh Omar Abdel Rahman.”40
             o Shortly thereafter, in December 1994, a group of Algerian militants loyal
               to the Armed Islamic Group (GIA) seized control of an Air France jetliner
               in Algiers in a unsuccessful, premature bid to suicide-crash it into the
               Eiffel Tower on Christmas Day. After securing the plane, the would-be
               hijackers demanded (in exchange for passengers held hostage), “the
               release of Dr. Omar Abdel Rahman and [Shaykh] Salman al-Awdah.”41
             o The hijacking was foiled by French counter-terrorist commandos who
               stormed the airliner after it stopped for additional fuel in Marseilles. The

39
   Imran Anwar (imran@panix.com). “Attacks on Pakistanis & B. Bhutto Fwd: Re: Islam Report (News &
Analysis.” Newsgroups: soc.culture.pakistan. February 11, 1994.
40
   United States v. Usama bin Laden, et al. S(7) 98 Cr. 1023 (LBS). United States District Court, Southern
District of New York. Trial Transcript, February 6, 2001. Page 296.
41
   American Islamic Group (AIG). “URGENT-Air France Real Story - PART II (What Really Happened)
[Malhamat Al-Shahadah].” Islam Report. December 31, 1994.


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               critical mistake the terrorists had made: relying on the Air France pilots to
               follow their orders, rather than taking over completely and flying the plane
               themselves.
             o The GIA issued a number of communiqués to their supporters concerning
               the failed operation. The communiqués were reprinted in English on the
               Internet by the American Islamic Group (AIG) in San Diego, CA. One of
               them, a poetic ode to the dead would-be hijackers, read as follows:

                          “A LETTER TO DEATH MAKERS
                          O’ Martyred convoys
                          O’ Death makers
                          Know well that you have made for the [Muslim empire] a new height
                          with your blood, and a towering structure from your body parts.”42

             o During later interrogations of Ramzi Yousef by Philippines authorities,
               Yousef admitted that during his 6 month-long training course in
               explosives near Jalalabad, Afghanistan, he “worked a lot with a good
               numbers of Egyptians and Algerians and they make good friends.”
               According to Abdel Hakim Murad, [Ramzi Yousef]

                          “was planning to go to France, Egypt and Algeria after their activities
                          here in the Philippines. The purpose was to train those Muslim brothers
                          thereat, on using Casio watch as a timing device, chemical mixtures to
                          compound bombs and to share his expertise on eluding detection on
                          airport’s x-ray machine and eventually smuggling this liquid chemical
                          bombs. Furthermore, France has a lot of Algerians staying and that these
                          Egyptians and Algerians has no experience[sic] on making these bombs
                          and does not know the basic of smuggling liquid bombs through the
                          airport.”43

             o Furthermore, Murad mentioned to Philippine interrogators that “[Ramzi]
               was just planning to go to these countries in order to conduct explosives
               training to their other Muslim brothers there because the people who have
               knowledge of this kind of training were all dead.” He added that he had
               “come to know” these plans “during the hijacking of the France Airlines in
               December 1994 when [Ramzi Yousef] told it to him at the Josefa
               apartment.”44


42
   American Islamic Group (islam@powergrid.electriciti.com). “Islam Report (Urgent! Air France Incident
- Part I).”
Newsgroups: soc.religion.islam. December 31, 1994.
43
   “After Intelligence Operation Report re Neutralization of International Terrorists.” Memorandum sent to
the Chief of the Philippine National Police. Republic of the Philippines, Department of the Interior and
Local Government; National Police Commission, National Headquarters Philippine National Police
Intelligence Command. Camp Crame, Quezon City. February 27, 1995.
44
   “After Intelligence Operation Report re Neutralization of International Terrorists.” Memorandum sent to
the Chief of the Philippine National Police. Republic of the Philippines, Department of the Interior and
Local Government; National Police Commission, National Headquarters Philippine National Police
Intelligence Command. Camp Crame, Quezon City. February 27, 1995.


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       -   January 1995 - Project Bojinka in the Philippines

               o In late 1994, convicted World Trade Center bombing mastermind Ramzi
                 Yousef, a graduate of terrorist camps in Afghanistan, conceived an
                 elaborate plot to bomb eleven U.S. airliners simultaneously over the
                 Pacific, and subsequently conduct “bombing operations” during a visit by
                 the Pope to the Philippines in January 1995. The plots would take place
                 within two weeks of the failed GIA suicide hijacking plot over Paris.
               o Yousef was directly aided in this plot by two senior figures in the
                 international network of Al-Qaida: Khalid Shaykh Mohammed and Wali
                 Khan Amin Shah.

                           Khalid Shaykh Mohammed, Ramzi’s uncle, is an experienced
                            terrorist commander and is suspected of principle involvement in
                            the September 11th attacks. According to one anonymous U.S.
                            official, “There’s lots of links that tie him to 9-11… He was
                            intricately involved.”45
                           Wali Khan Amin Shah (a.k.a. Usama Azmarai) was a resident of
                            Saudi Arabia, originally from the Ferghana Valley region
                            straddling Uzbekistan, Kyrgyzstan, and Tajikistan. In Saudi
                            Arabia, he became a close compatriot of Usama Bin Laden—and
                            later, a key veteran of the Soviet-Afghan war. He is currently
                            imprisoned in the United States for his role in the Philippines plot.
                            He has since been described by Wadih el-Hage (a convicted
                            terrorist and Bin Laden’s former personal secretary), as “very close
                            friends to [Bin Laden].”46

               o In preparing Operation Bojinka, Khalid Shaykh Mohammed, Ramzi
                 Yousef, and other conspirators also arrived at other possible terror
                 schemes, including:

                           Plots to assassinate the Pope and President Clinton during visits to
                            the Philippines, possibly with the use of a poison gas
                           Suicide crashing commercial aircraft into the CIA Headquarters in
                            Langley, Virginia and various nuclear power plants around the
                            U.S.

                                 •   “With regards to their plan to dive-crash a commercial
                                     aircraft at the CIA Headquarters in Virginia, [Abdel Hakim
                                     Murad] alleged that the idea of doing same came out during
                                     his casual conversation with [Ramzi Yousef] and there is
                                     no specific plan yet for its execution. What the subject
                                     have in his mind is that he will board any American
                                     commercial aircraft pretending to be an ordinary passenger.

45
     Lumpkin, John J. “Feds Point Finger at Kuwaiti for 9-11.” The Associated Press. June 5, 2002.
46
     United States v. Usama bin Laden, et al. Trial Transcript, February 15, 2001. Page 811.


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                                   Then he will hijack said aircraft, control its cockpit and
                                   dive it at the CIA Headquarters. There will be no bomb or
                                   any explosive that he will use in its execution. It is simply
                                   a suicidal mission that he is very much willing to execute.
                                   That all he need is to be able to board the aircraft with a
                                   pistol so that he could execute the hijacking.”47
                              •    During their stay together in Pakistan, Murad claimed that
                                   Ramzi Yousef discussed with him his intense desire to
                                   “attack any nuclear facilities in the US.” However, Murad
                                   insisted that no “specific planning” had been done as to
                                   when and how this attack would be carried out.48

             o During interrogations of co-conspirator Abdel Hakim Murad by Philippine
               police and intelligence officials, Murad admitted that he always felt Ramzi
               Yousef was “hiding something from him. He suspects that [Ramzi] is
               connected with OSAMA BIN LADIN since he remember that he had once
               asked [Ramzi] if the latter is connected with or receiving financial support
               from BIN LADIN, he had observed that [Ramzi] is avoiding the
               question.”49

     -   September 1995 – Warnings from Abu el-Ma`ali

             o In September 1995, GIA Afghano-Bosniak military commander Abu el-
               Ma`ali (a.k.a. Abdelkader Mokhtari) issued an “important communique to
               Muslims.” The communiqué was translated into English and reprinted on
               the Internet by the San Diego, CA-based American Islamic Group.
             o Abu al-Ma`ali railed against the United States “which controls this ailing
               world along with the Jews and Christians… We know that we will have a
               day in which to fight the Jews, and the Almighty will grant us victory, and
               also we know that the best soldiers will fight the Christians and all of these
               are promises and rejoices from the Messenger of Allah. So why do you
               think that victory would not come to Muslims from Allah. We do not
               believe in worshipping anyone but Allah.”50


47
   “After Intelligence Operation Report re Neutralization of International Terrorists.” Memorandum sent to
the Chief of the Philippine National Police. Republic of the Philippines, Department of the Interior and
Local Government; National Police Commission, National Headquarters Philippine National Police
Intelligence Command. Camp Crame, Quezon City. February 27, 1995.
48
   “After Intelligence Operation Report re Neutralization of International Terrorists.” Memorandum sent to
the Chief of the Philippine National Police. Republic of the Philippines, Department of the Interior and
Local Government; National Police Commission, National Headquarters Philippine National Police
Intelligence Command. Camp Crame, Quezon City. February 27, 1995.
49
   “After Intelligence Operation Report re Neutralization of International Terrorists.” Memorandum sent to
the Chief of the Philippine National Police. Republic of the Philippines, Department of the Interior and
Local Government; National Police Commission, National Headquarters Philippine National Police
Intelligence Command. Camp Crame, Quezon City. February 27, 1995.
50
   American Islamic Group (islam@powergrid.electriciti.com). “Islam Report(Jihad in Europe! Now A
Muslim Brigade!)” Newsgroups: alt.current-events.bosnia. September 23, 1995.


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            o Abu el-Ma`ali has since been identified by unnamed U.S. officials as a
              “junior Osama Bin Laden.”

     -   November 1995 – First Riyadh Bombing

            o On the morning of November 13, 1995, a car bomb exploded in Riyadh,
              Saudi Arabia at a U.S. training center for the Saudi National Guard. U.S.
              Colonel Albert Bleakley had just left the building and was about to get
              inside his Chevy Yukon. Suddenly, there was a flash and a blast wave
              shredded the cars parked nearby. Bleakley “felt a splash of heat” on his
              face, “as if he had shoved his head into an oven.” The Yukon was torn to
              bits by shrapnel, so dramatically that Bleakley at first believed the bomb
              had actually been inside his own car.51 Seven people were killed,
              including five U.S. citizens, and thirty-seven other Americans were
              injured.
            o Several months later, Saudi officials under the lead of Interior Minister
              Prince Nayif, announced the arrest and confessions of four suspects in that
              terror attack: Abdulaziz bin Fahd Nasser al-Mutham, Riyad Suleiman
              Ishak al-Hajiri, Muslih Ali Ayed al-Shamrani, and Khalid Ahmed Ibrahim
              al-Saeed.52
            o Al-Mutham, al-Hajiri, and al-Shamrani were all admitted Arab-Afghan
              veterans who, while in Afghanistan, had “met groups from so many
              nationalities who had extremist ideas about the rulers, governments and
              ulema.” In their confessions, all three also spoke of receiving faxed
              communiqués from Usama Bin Laden “as well as bulletins of the Islamic
              groups in Egypt and Algeria.” Al-Shamrani, an apparent leader of the
              conspiracy, had first trained in a 3-month course at the Al-Farooq military
              camp run by Al-Qaida. He was also a veteran of the jihad in Bosnia,
              where he had fought with the Kateebat al-Mujahideen for approximately
              four months. Almost immediately upon his return to Saudi Arabia from
              Bosnia, al-Shamrani formed and activated a terror cell with other Arab-
              Afghan veterans and began planning a campaign of assassinations and
              bombings against the Saudi regime and Western targets. This activity
              soon culminated in the dramatic November explosion in Riyadh.53 Shortly
              thereafter, the Saudis hastily beheaded all four men, before U.S., Italian,
              or French investigators could question any of them and determine if they
              had acted as part of a larger conspiracy.




51
   Dennehy, Kevin. “Cape man relives close call with terrorist bombing while in Saudi Arabia.” Cape Cod
Times. October 25, 2001.
52
   “Culprit in Riyadh bombing arrested; Prince Naif lauds General Investigations.” Riyadh Daily. April
23, 1996.
53
   “Culprit in Riyadh bombing arrested; Prince Naif lauds General Investigations.” Riyadh Daily. April
23, 1996.


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     -   December 1995 – Failed Revenge for Shaykh Omar Abdel Rahman

            o According to various accounts, on the day of December 12, 1995, several
              Arab-Afghan mujahideen fighters had parked a non-descript delivery van
              in the lot of mujahideen headquarters in the Vatrostalno factory near
              Zenica in central Bosnia. A Bosnian police investigation later concluded
              that these radicals were in the final stages of “trying to rig a car bomb”
              when they ran into an unknown technical error, and it prematurely
              exploded.54 The massive and unexpected detonation killed as many as
              four mujahideen bombmakers and injured several other foreigners in the
              area.55
            o All evidence indicates that this weapon was to be used in a second revenge
              terror attack by Al-Gama`at Al-Islamiyya. As the October bombing in
              Rijeka had been in direct response to the arrest of Abu Talal al-Qasimy,
              some sources claim that this one in December would be a violent
              challenge to the coinciding October 1, 1995 conviction in U.S. federal
              court of Al-Gama`at’s spiritual leader Shaykh Omar Abdel Rahman,
              charged with thirteen counts of seditious conspiracy for leading plots to
              assassinate Egyptian President Mubarak and to bomb New York City
              landmarks.

                        In pamphlets sent to security authorities and posted for public
                         display in at least two southern Egyptian provinces two days after
                         Shaykh Omar’s conviction, Al-Gama`at Al-Islamiyya issued a dire
                         and very serious threat: “We warn you (Americans) with the use of
                         all means of violence.”56
                        At the time, Shaykh Omar’s son Abdallah scoffed at the notion that
                         an American jury would find his father guilty; “We are not
                         surprised because the United States is the enemy of Islam.”57
                        A year later in 1996, American intelligence acknowledged several
                         reports from a “foreign government service” that “an Algerian
                         national” (affiliated with the Al-Kifah Refugee Center) and another
                         senior Algerian “commander of the mujahedin” were, in the late
                         fall of 1995, “preparing for an unspecified terrorist attack in
                         Europe if Shaykh Umar Abdal-Rahman… were convicted.”58 The
                         latter Algerian suspect was almost certainly a reference to the
                         venerated Abu el-Ma`ali.



54
   O’Connor, Mike. “5 Islamic Soldiers Die in Shootout With Croats.” The New York Times. December
16, 1995. Page 6.
55
   Azzam Publications. “Under the Shades of Swords.” Audiocassette sequel to “In the Hearts of Green
Birds.” November 1997. Azzam Recordings; London, UK.
56
   Nasrawi, Salah. “Islamic Group Warns Americans Over Conviction of Sheik.” The Associated Press.
October 3, 1995.
57
   Ghalwash, Mae. “Sons of Omar Abdel-Rahman.” The Associated Press. October 2, 1995.
58
   January 1998 CIA Report on “International Islamic NGOs” and links to terrorism. Page 10.


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             o Curiously, there may have been a significance to the nationalities of those
               designated to carry out these suicide bombings on behalf of Al-Gama`at.
               In this case, as reported by both Al-Qaida and Bosnian authorities, the
               deceased would-be suicide bomber was an 18-year-old British honors
               student from southwest London known as Sayyad al-Falastini. Sayyad
               was born in the United Kingdom but spent most of his early youth in the
               Kingdom of Saudi Arabia. When he returned to London at age 12, he
               soon became involved in the radical Islamic fundamentalist movement
               there that was recruiting young volunteers for jihad in Bosnia.
             o Reliable intelligence sources indicated that there was yet another
               Westerner among the foreign mujahideen who was directly responsible for
               training the terror unit deemed responsible for the failed car bombing: Isa
               Abdullah Ali (a.k.a. Kevin Holt), a former groundskeeper at Howard
               University in Washington D.C.59

                         Between 1990 and 1992, Ali was a regular visitor to Shaykh Omar
                          Abdel Rahman’s mosque, and was by some accounts a firm
                          devotee of the Shaykh and Al-Gama`at Al-Islamiyya. According to
                          at least one source, Isa Abdullah Ali, was one of the purported
                          American “special forces” veterans who had come to Bosnia in
                          early 1993 alongside Clement Rodney Hampton-el to help train
                          local troops in sabotage and advanced combat tactics as part of
                          “Project Bosnia.”60
                         Isa Abdullah Ali quickly aroused the suspicions of U.S. and NATO
                          troops across the region soon after the signing of the Dayton
                          Accords. At the Pentagon, spokesman Lt. Col. Arnie Owens
                          would only say that Ali was “regarded as a potential security threat
                          to American personnel.”61

     -   Fall 1996 - Bin Laden’s First Declaration of War

             o In October 1996, the Committee for the Defense of Legitimate Rights
               (CDLR), a Saudi Islamist dissident movement affiliated with Usama Bin
               Laden, released a translation on the Internet of a new “declaration of war”
               he had authored.62 The document was signed by Bin Laden and was
               posted from “the Hindu Kush” in Afghanistan.
             o Excerpts from the three part declaration:

                         “It is now clear that those who claim that the blood of the
                          American solders (the enemy occupying the land of the Muslims)

59
   “Issa Abdullah Ali (Bosnia).” Indigo Publications Intelligence Newsletter. No. 282; February 22, 1996.
60
   “Issa Abdullah Ali (Bosnia).” Indigo Publications Intelligence Newsletter. No. 282; February 22, 1996.
61
   “NATO forces warned of U.S. extremist in Bosnia.” The New York Times. January 23, 1996.
62
    Committee for the Defense of Legitimate Rights (CDLR) <100043.1420@CompuServe.COM>.
“MSANEWS: THE LADENESE EPISTLE: DECLARATION OF WAR (I).”                                       MSANews.
http://msanews.mynet.net. October 12, 1996.


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                       should be protected are merely repeating what is imposed on them
                       by the regime; fearing the aggression and interested in saving
                       themselves. It is a duty now on every tribe in the Arab Peninsula
                       to fight, Jihad, in the cause of Allah and to cleanse the land from
                       those occupiers. Allah knows that there blood is permitted (to be
                       spilled) and their wealth is a booty; their wealth is a booty to those
                       who kill them… Our youths knew that the humiliation suffered by
                       the Muslims as a result of the occupation of their sanctities can not
                       be kicked and removed except by explosions and Jihad.”63
                      “Death is better than life in humiliation! Some scandals and
                       shames will never be otherwise eradicated. My Muslim Brothers
                       of The World: Your brothers in Palestine and in the land of the two
                       Holy Places are calling upon your help and asking you to take part
                       in fighting against the enemy -your enemy and their enemy- the
                       Americans and the Israelis. They are asking you to do whatever
                       you can, with one own means and ability, to expel the enemy,
                       humiliated and defeated, out of the sanctities of Islam.”64

     -   March 1997 – Peter Arnett interview

            o The first-ever Western television interview of Usama Bin Laden in
              Afghanistan was conducted by Peter Arnett on behalf of CNN in late
              March 1997. The interview lasted just over an hour.
            o Excerpts from the interview:

                      “We declared jihad against the US government, because the US
                       government is unjust, criminal and tyrannical… Due to its
                       subordination to the Jews the arrogance and haughtiness of the US
                       regime has reached, to the extent that they occupied the qibla of
                       the Muslims (Arabia) who are more than a billion in the world
                       today. For this and other acts of aggression and injustice, we have
                       declared jihad against the US, because in our religion it is our duty
                       to make jihad so that God's word is the one exalted to the heights
                       and so that we drive the Americans away from all Muslim
                       countries.”
                      “As for what you asked whether jihad is directed against US
                       soldiers, the civilians in the land of the Two Holy Places (Saudi
                       Arabia, Mecca and Medina) or against the civilians in America, we
                       have focused our declaration on striking at the soldiers in the
                       country of The Two Holy Places… even though American

63
    Committee for the Defense of Legitimate Rights (CDLR) <100043.1420@CompuServe.COM>.
“MSANEWS: THE LADENESE EPISTLE: DECLARATION OF WAR (I).”                      MSANews.
http://msanews.mynet.net. October 12, 1996.
64
    Committee for the Defense of Legitimate Rights (CDLR) <100043.1420@CompuServe.COM>.
“MSANEWS: THE LADENESE EPISTLE: DECLARATION OF WAR (I).”                      MSANews.
http://msanews.mynet.net. October 12, 1996.


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                       civilians are not targeted in our plan, they must leave. We do not
                       guarantee their safety, because we are in a society of more than a
                       billion Muslims. A reaction might take place… So, the US is
                       responsible for any reaction, because it extended its war against
                       troops to civilians. This is what we say. As for what you asked
                       regarding the American people, they are not exonerated from
                       responsibility, because they chose this government and voted for
                       it.”
                      “The reaction came as a result of the US aggressive policy towards
                       the entire Muslim world and not just towards the Arabian
                       peninsula. So if the cause that has called for this act comes to an
                       end, this act, in turn, will come to an end. So, the driving-away
                       jihad against the US does not stop with its withdrawal from the
                       Arabian peninsula, but rather it must desist from aggressive
                       intervention against Muslims in the whole world.”

     -   February 1998 – International Islamic Front against Jews and Crusaders

            o In February 1998, Usama Bin Laden convened a meeting in Afghanistan
              of the “World Islamic Front Against Jews and Crusaders.” The attendees
              included Dr. Ayman Al-Zawahiri (Egyptian Islamic Jihad movement),
              Abu Yasir Rifa`i Ahmad Taha (Al-Gama`at Al-Islamiyya), Shaykh Mir
              Hamzah (Pakistani Jamiat-ul-Ulema), and Fazlul Rahman (Bangladeshi
              Jihad movement).
            o Bin Laden and other Middle Eastern terrorist leaders in attendance jointly
              agreed that “the ruling to kill the Americans and their allies—civilians and
              military—is an individual duty for every Muslim who can do it in any
              country in which it is possible to do it.”
            o “We—with God’s help—call on every Muslim who believes in God and
              wishes to be rewarded to comply with God's order to kill the Americans
              and plunder their money wherever and whenever they find it. We also call
              on Muslim ulema, leaders, youths, and soldiers to launch the raid on
              Satan’s U.S. troops and the devil’s supporters allying with them, and to
              displace those who are behind them so that they may learn a lesson.”

     -   February 1998 – Declaration of War by British Al-Qaida Supporters

            o On February 11, 1998, Shaykh Omar Bakri Mohammed, Abu Hamza al-
              Masri, and Dr. Mohammed al-Massari were the principle authors of a
              “declaration of war” against the U.S. and British governments for their
              joint military attack on Saddam Hussein in Iraq.65
            o The fatwa, or religious edict, represented “a message for the US and the
              British Governments or any other government of non-Muslim countries…

65
  Peterson, Harith Abd Rahman. “(URGENT) Al-Muhajiroun: MUSLIMS IN BRITAIN DECLARE
WAR AGAINST THE US AND BRITISH GOVERNMENTS & a response from the WIN Amir.” Usenet
posting on soc.religion.islam. February 11, 1998.


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                to stay away from Iraq, Palestine, Pakistan, Arabia etc. or face a full scale
                war of Jihad which will be the responsibly and the duty of every Muslim
                around the world to participate in. We the undersigned call upon the
                Muslims around the world including the Muslims in the USA and in
                Britain to confront by all means whether verbally, financially, politically
                or militarily the US and British aggression.”66

     -   (Unknown month) 1998 – A North African Plot in Germany

            o At an undisclosed point during 1998, the CIA allegedly uncovered a new
              plot masterminded by GIA Bosniak commander Abu el-Ma`ali
              (Abdelkader Mokhtari) to smuggle large quantities of C-4 plastic
              explosives and blasting caps to an “Egyptian terrorist group” for the
              purpose of attacking U.S. military bases in Germany.67
            o Fortunately, the CIA was able to intercept the explosives shipment before
              it could reach the Egyptians, and the terrorist plan was foiled.68

     -   July 1998 – Interception of Al-Qaida/EIJ cell in Tirana, Albania

            o U.S. and Egyptian intelligence, among others, were closely following
              several groups of radical Islamic dissidents operating in Bosnia,
              particularly Egyptian adherents of Al-Gama`at al-Islamiyya and Al-Jihad.
              One of the men being tracked, Sabri Ibrahim al-`Attar, narrated his fate in
              his subsequent trial: “I stayed [in Bosnia] for almost another year during
              which I took part in the jihad with the Arab brothers under the command
              of a Muslim mujahid who had US citizenship but of Arab origin. But after
              the signing of the Dayton peace agreement, we the Arabs felt that our stay
              in Bosnia was not desirable anymore… we were compelled to flee to
              Kosovo. On the way there, I was arrested with others by the Serb
              intelligence services and I believe CIA agents. We could not check the
              identity of those who arrested us. All I remember was that they were very
              harsh and treated us inhumanely. We were held for about a month until I
              was handed over with others to the Egyptian authorities.”69
            o A number of men had formed a terrorist sleeper cell in Albania loyal to the
              Egyptian Islamic Jihad movement. As early as 1993, U.S. Embassy
              officials in Tirana became alarmed at the presence of such extremist
              Islamic terrorist cells in the locality when one known militant was


66
   Peterson, Harith Abd Rahman. “(URGENT) Al-Muhajiroun: MUSLIMS IN BRITAIN DECLARE
WAR AGAINST THE US AND BRITISH GOVERNMENTS & a response from the WIN Amir.” Usenet
posting on soc.religion.islam. February 11, 1998.
67
   Pyes, Craig with Josh Meyers and William Rempel. “Bosnia Seen as Hospitable Base and Sanctuary for
Terrorists.” Los Angeles Times. October 7, 2001.
68
   Pyes, Craig with Josh Meyers and William Rempel. “Bosnia Seen as Hospitable Base and Sanctuary for
Terrorists.” Los Angeles Times. October 7, 2001.
69
   Sharaf-al-Din, Khalid. “Fundamentalists’ Leaders Formed Bogus Organizations To Confuse the Security
Organs.” Al-Sharq al-Awsat (London). March 7, 1999. Page 6.


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              observed circling the embassy in Tirana, apparently casing it as a potential
              target.
            o The U.S. Central Intelligence Agency (CIA) and their Albanian
              counterparts in the SHIK coordinated a series of arrests and raids, seizing
              the men and interrogating them as to their connections and intentions.
            o These men, known as the “Albanian Returnees,” caused a huge stir when
              they were rendered over to Egypt, and subsequently brought before one of
              the largest North African mass trials of Islamic militants during the 1990s.
              The involvement of the U.S. in the extraction of the extremist Egyptians
              was not taken lightly by their particular Amir, Ayman al-Zawahiri.
              Several of Al-Jihad’s most prominent commanders were arrested in
              Albania and deported to Egypt, including Ahmad Salamah Mabruk,
              Zawahiri’s “right-hand man.”70
            o On August 5, 1998, the “Information Office of the Jihad Group in Egypt”
              had issued a statement through Al-Hayat accusing the American
              government of masterminding the arrest of the “Albanian returnees” for
              “declaring jihad against the United States and Israel and their trade, and
              cooperation with the mujahidin in Kosovo outside US influence.” The
              statement added, “We are interested in briefly telling the Americans that
              their message has been received and that the response, which we hope
              they will read carefully, is being [prepared]… in the language that they
              understand.”71

     -   August 1998 – East Africa Embassy Bombings

            o On August 7, 1998, two U.S. embassies in East Africa were suicide-
              bombed almost simultaneously by Al-Qaida cells deemed loyal to
              Zawahiri’s Egyptian Al-Jihad faction. The twin explosions rocked the
              embassies in Nairobi, Kenya and Dar-es-Salaam, Tanzania, ultimately
              killing 223 people. The terrorist attack was later attributed to Usama bin
              Laden and Al-Qaida.

                        One of the central ringleaders of the plot was Wadih El-Hage, Bin
                         Laden’s personal secretary. Despite being scrutinized by U.S.
                         intelligence, using his American passport to guarantee freedom of
                         movement, el-Hage traveled across Africa and Europe to search for
                         foreign business partners to team up with Al-Qaeda front
                         companies based in Kenya, Sudan, and elsewhere. He engaged in
                         enterprises as diverse as leather, gemstones, and even ostriches,
                         channeling profits from these ventures through a variety of
                         international financial institutions, including several Cypriot
                         branches of large U.S. banks.


70
   “Al-Sharq Al-Awsat Publishes Extracts from Al-Jihad Leader Al- Zawahiri's New Book.” Al-Sharq al-
Awsat (London). December 2, 2001. Page 6.
71
   “Islamic Jihad vows Revenge.” Al-Hayat (London). August 6, 1998.


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                       When FBI agents searched El-Hage’s home, they found business
                        cards for one of El-Hage’s dummy corporations, “Anhar Trading.”
                        The German address on the card was, in fact, the Hamburg home
                        of key Bin Laden financier Mamoun Darkazanli.
                       Another convicted conspirator in the embassy bombing attack,
                        Mohammed Sadiq Odeh, established a fishing business in
                        Mombassa, Kenya. Though Odeh claims to be merely a
                        commercial entrepreneur, the facts speak otherwise. Kenyan
                        fishing inspector Kibarua Mjitta, a government witness in the
                        recent Embassy Bombing trial in New York, testified that Odeh’s
                        business activities were quite suspicious-- he typically unloaded
                        his catch at night, after inspectors had already gone home: “The
                        department was missing information, statistics from Mr. Odeh.”72
                        Odeh refused to hire any locals to help him, bringing in any
                        necessary manpower exclusively from the Al-Qaeda cell in
                        Nairobi.
                       Mjitta told FBI investigators that while Odeh claimed to be
                        transporting fish from other ports along the Kenyan coast, he was,
                        in fact, traveling regularly to Kismayo in southern Somalia. As
                        this evidence suggests, both El-Hage and Odeh were using their
                        business enterprises as fronts for Al-Qaeda activities and means to
                        provide the cash for terrorist operations.
                       Wadih El-Hage also was active in another typical Al-Qaeda front
                        activity: religious charity groups. The thin veneer of legitimacy
                        associated with these charity groups was critical in preventing
                        detection of the planned terrorist operations.

                            •   In Kenya, El-Hage registered “Help Africa People,” a
                                humanitarian group supposedly aiding indigent Africans
                                with money raised from the U.S. and Germany. In fact,
                                “Help Africa People” did little more than provide jobs and
                                a cover to shield El-Hage and other conspirators from
                                official scrutiny while they plotted to strike against
                                America. Shockingly, registry papers for Help Africa
                                People contained the name of Moataz al-Hallak, a U.S.-
                                based Islamic cleric who has already been linked to the
                                purchase of a jet aircraft for use by Bin Laden. Though
                                questioned by law enforcement on several occasions, al-
                                Hallak continues to reside in Maryland, free of any
                                prosecution.
                            •   Another religious charity also played a major role in the
                                terror attacks in East Africa: Mercy International. Both Al
                                Qaeda and Mercy were using Kenya as a base to conduct
                                operations in Somalia, where Mercy operated a number of
72
  United States of America v. Usama bin Laden et al. Testimony offered on February 27, 2001. Page
1614.


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                                hospitals, orphanages, and other facilities. A former Al
                                Qaeda operative, L’Houssaine Kherchtou, testified in New
                                York that Mercy was known to be “dealing with some
                                people [of] Bin Laden.”73         At one point, Abdullah
                                Mohammed, an alleged Kenya embassy bomber,
                                transported eight boxes of Wadih El-Hage's personal
                                effects to Mercy’s office in Nairobi. The items, seized later
                                by the FBI, included false documents, letters, faxes, and
                                passports.
                            •   Following the August 7 dual US Embassy bombings, six
                                Muslim NGO’s operating in Kenya, including Mercy
                                International, IIRO, and the Muslim World League, were
                                banned for “endangering the lives of Kenyans” and
                                “working against the interests of Kenyans in terms of
                                security,” according to John Etemesi, Chairman of the
                                Nongovernmental Coordinating Board in Kenya.

     -   August 1998 – Shaykh Omar Abdel Rahman’s New Fatwah

            o In response to the embassy bombings in Africa and the resulting U.S.
              missile strikes on Al-Qaida training camps in Afghanistan, Shaykh Omar
              Abdel Rahman issued a new call to arms in the form of a religious fatwah
              (edict). The fatwah was smuggled out of Shaykh Omar’s American prison
              cell with the help of his paralegals and lawyer Lynne Stewart.
            o The fatwah urged all Muslims:

                       “[The Jews and Christians] are the ones that are fighting every
                        Muslim resurrection in the whole world, they act to spread
                        prostitution, usury, and other kinds of corruption all over the land.
                        Oh, Muslims everywhere!           Cut the transportation of their
                        countries, tear it apart, destroy their economy, burn their
                        companies, eliminate their interests, sink their ships, shoot down
                        their planes, kill them on the sea, air, or land. Kill them when you
                        find them, take them and encircle them, paralyze their every post.
                        Kill those infidels… Allah will torment by your hands those who
                        wish to kill you; Allah will put shame upon them, he will blow
                        wind in the chests of the believers and show the anger of their
                        hearts.”74    Shaykh Omar Abdel Rahman, writing from an
                        American prison cell.

            o Al-Qaida terrorist Ahmed Ressam later recalled the same fatwah
              distributed widely in the Afghan military training camps in 1998-1999

73
   United States of America v. Usama bin Laden et al. Testimony offered on February 26, 2001. Page
1416.
74
   Excerpted from the will and testament of Shaykh Omar Abdel Rahman, written in an American prison
cell. Al-Minhaj. Page 27. http://www.badr.com. Dated: 1997.


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                “issued by Sheikh Omar Abdel Rahman with his picture on it… It said it
                was a fatwah by Omar Abdel Rahman from prison. It says fight
                Americans and hit their interest everywhere.”75

     -   August 1998 – Threats from the Aden-Abiyan Islamic Army in Yemen

            o On August 23, in response to U.S. missile strikes on Al-Qaida training
              camps in Afghanistan, the Islamic Army of Aden-Abiyan issued a
              statement delivered to Agence France Press declaring “total war” on
              American interests in Yemen. Declaring its open allegiance to Usama Bin
              Laden, the Islamic Army of Aden indicated that it intended to attack U.S.
              property and military facilities on the southern island of Socotra, in Aden,
              and Hodeida. It further praised the attacks on U.S. embassies in Tanzania
              and Kenya as “an heroic operation carried out by heroes of the jihad.”
            o Among its grievances, the Islamic Army of Aden demanded the release of
              its imprisoned military commander, Zayn Al-Abideen Al-Mihdar (a.k.a.
              Abu al-Hassan Al-Mihdar), accused of kidnapping sixteen foreign tourists
              and killing four of them in late 1998. Al-Mihdar was a 30-something
              Salafi radical from an important local tribe in the Shabwa province. He
              was a veteran of the jihad in Afghanistan and later became associated with
              a group of other Afghan war veterans from various countries.
            o Al-Mihdar was tried in a Yemeni court and eventually sentenced to death.
              During his trial, he told the court that the slain foreign tourists were
              “grandchildren of pigs and monkeys” and that his only regret was that if
              his pistol had not jammed, he could have killed others. “God sent them to
              us, so we took them,” he said. “If I live, I will kill some more.”

     -   November 1998 – The First Islamic Revival Conference in the U.K.

            o On November 20, 1998, British Muslim radical leaders—including
              Shaykh Omar Bakri Mohammed, Abu Hamza al-Masri, and Dr.
              Mohammed Al-Massari—convened the first annual Islamic Revival
              conference in London, U.K.
            o At the close of the day, the leaders of the conference issued a joint
              declaration (later published on the Internet by Al-Muhajiroun and Abu
              Hamza). The declaration explained that “the Islamic Movements agree
              that the US government and their alliance are the greatest enemy for Islam
              and Muslims today. They require us to put all of our recourses together in
              order to counter the aggression whether it be cooperation militarily,
              politically or economically. The Islamic Movements endorse the struggle
              of Sheikh Osama Bin Laden against the US, their alliance and all non-
              Muslim forces in Muslim countries.”76


75
   Direct Examination of Ahmed Ressam. United States v. Mokhtar Haouari. United States District Court
Southern District of New York. Case: 00CR15. June 27-July 6, 2001. Page 552.
76
   Declaration, The Conference of Islamic Revivalist Movements, Friday 20th November 1998.


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     -   January 1999 – IIRO-linked Terror Plots in India and Bangladesh

             o In the wake of the American retaliation for the suicide bombings, Indian
               police arrested a number of suspects charged in a successive attempted
               attack on the US consulates in Madras and Calcutta. This terrorist cell
               was led by a Bangladeshi national, Sayed Abu Nasir, acting on orders
               from, among others, Shaykh Ahmed al-Gamdin, director of IIRO
               operations in Asia.77
             o After graduating from college in Dhaka, Bangladesh, Nasir was eventually
               employed by the IIRO. After working in Thailand for several years, Nasir
               was transferred to Lahore, Pakistan in 1994. At this time he was informed
               that forty to fifty percent of IIRO’s funds were diverted to terrorist training
               camps in Afghanistan and Pakistan-occupied regions of Kashmir. Nasir’s
               job was to visit the camps, assess how much funding was needed, and
               report back to headquarters. Some time later, Gamdin asked Nasir to
               undergo training at one of the camps. While at this camp, Nasir met
               Usama Bin Laden. In 1998, Nasir attended the meeting with Gamdin and
               others where he was directed to cross the Bangladeshi-Indian border in
               West Bengal on a mission to blow up the American consulates in Calcutta
               and Madras.

     -   February 1999 – Second Islamic Revival Conference in London, UK

             o On February 26, radical Islamic fundamentalist organizations in Great
               Britain held their second annual “Islamic Revival Conference” at Friends
               House, in Euston. The conference was hosted by, among others, Shaykh
               Omar Bakri Mohammed (leader of the Al-Muhajiroun movement) and
               Abu Hamza al-Masri, the fiery prayer leader at the Finsbury Park Mosque
               in London. The conference was attended by more than 500 British
               Muslims and international media representatives; the conference was
               additionally videotaped and distributed in local mosques and Islamic
               bookstores.78
             o Omar Bakri spoke first, openly calling for a Jihad against the United
               States, Great Britain, and all other “anti-Islamic” forces: “America
               declared war against Islam, and the West declared war against Islam, and
               we declare war against them!” Bakri was followed by Mohammed
               Jameel, “coordinator” of “Sakina Security Services”, another Al-
               Muhajiroun-affiliated extremist group based in London. Jameel pleaded
               with the audience, “There is training available. It is time that we prepare
               and retaliate against these people.”79
             o During his speech, Abu Hamza al-Masri unveiled a diagram for the
               “Muslim Anti-Aircraft Net,” a design for a floating net laced with mines

77
   Dugger, Celia W. “Anti-U.S. Plot in India Is Foiled; Militant Islamist Intended to Bomb 2 Consulates,
Police Say.” The New York Times. January 21, 1999. Page 4.
78
   “Islamic radicals exhort British Moslems to ‘Jihad.’” Agence France-Presse (AFP). February 28, 1999.
79
   “Islamic radicals exhort British Moslems to ‘Jihad.’” Agence France-Presse (AFP). February 28, 1999.


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              intended to randomly entrap and destroy civilian passenger aircraft in
              Great Britain and the U.S.80. Abu Hamza told the audience that similar
              flying mines carried upwards by small balloons were being tested out
              inside Afghanistan. He added, “When it will reach America and Britain, I
              don’t know, but for the time being it is Islamically justified.” When
              telephoned by AFP for clarification, Abu Hamza angrily retorted “Of
              course it is terrorism, it is terrorizing the terrorists.”81
            o In a later press release about the conference, Abu Hamza’s representatives
              explained that the anti-aircraft grid was

                     “designed by our Brothers in Afghanistan. These nets will increase the
                     hazard and risk to flying, and are a response to the destructive inventions of
                     the infidel West… These nets, if mass produced, can cost less than £10, and
                     are undetected by radar. They can be launched from any point, and move to
                     anywhere in the world. We urge all brothers and sisters to also begin
                     thinking of designs and techniques such as these, because the time for talking
                     has long since passed.”82

     -   April 1999 – More Threats from the Islamic Army of Aden-Abiyan

            o In late April, the Islamic Army of Aden Abiyan in Yemen threatened the
              lives of the U.S. and British ambassadors in a “final warning.” According
              to the statement, “If the ambassadors of America and Britain do not leave,
              then our time will come soon and the blow will be painful.” The
              declaration warned the Yemeni government of the consequences of failing
              to release Zayn Al-Abideen Al-Mihdar (Abu al-Hassan), the former leader
              of the Aden Army.

     -   Mid-1999 – Abdelaziz Bin Baz and the Ideological Attack

            o In 1999, Shaykh Abdelaziz Bin Baz, Grand Mufti (head religious
              authority) of Saudi Arabia, released a new book on Muslim-Christian
              relations that was quickly translated from his native Arabic into English
              and published around the world. The book, known as The Ideological
              Attack, is still to this day widely available for sale online and in Islamic
              bookstores across the U.S., Europe, and the Middle East.
            o In The Ideological Attack, Bin Baz affirmed, “Yes, the Muslims in
              general… are all subject to a great ideological attack from the various
              nations of kufr [infidels] from both the east and the west. The severest
              and most serious of these attacks are: the attack of the christian crusaders;
              the Zionist attack; [and] the communist and atheistic attack.”83


80
   Davies, Deborah. “Kill or be Killed.” Dispatches. Channel 4 UK. 1999.
81
   “Islamic radicals exhort British Moslems to ‘Jihad.’” Agence France-Presse (AFP). February 28, 1999.
82
   Supporters of Shariah (SOS) Newsletter. Vol. 2; Issue 2. March/April 1999.
83
   Bin Baaz, Shaykh Abdul-Azeez. The Ideological Attack. Message of Islam Publications; Hounslow,
UK. ©1999. Pages 42-43.


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            o Bin Baz continued, “[t]he attack of the christian crusaders is today at its
              most intense… The Muslim whose mind has not been corrupted cannot
              bear to see the infidels wielding authority… [t]herefore such a Muslim
              strives his utmost to expel and distance them—even if he has to sacrifice
              his own life, or his most cherished possession for this cause.”84

     -   July 1999 – Omar Bakri’s Open Letter to Usama Bin Laden

            o On July 15, 1999, Shaykh Omar Bakri Mohammed (leader of the Al-
              Muhajiroun movement) issued an open letter over the Internet to Usama
              Bin Laden titled “O’ Osama, Let Us Hear the Good News.”
            o Omar Bakri congratulated Bin Laden on his “decision to confront the
              American alliance” as “a victory since the US and its alliance was under
              the impression that no one would dare challenge them… This
              confrontation has elevated the Islamic Nation from psychological
              humiliation to a stand of dignity and confidence and is a victory. The
              acknowledgment of the threat of the Islamic Movements headed by you as
              a public enemy number one against the interests of the USA by the USA is
              a victory.”85
            o Omar Bakri further called upon Bin Laden to “aim [his] weapons at the
              occupying forces” and ordered all Muslims to “stand and engage in Jihad
              or support the Mujahideen.”86

     -   December 1999 – The Millenium Terror Plots

            o In 1998, Al-Qaida terrorist commanders Abu Zubaydah and Abu Doha
              conceived an international twin terror scheme to take place on the eve of
              the Millenium. A host of senior Al-Qaida aides around the world were
              cooperating and planning to send two loyal sleeper cells, one based in
              Jordan and one in Montreal, to launch devastating attacks on American,
              British, and Israeli targets. The Montreal cell—headed by veteran
              Algerian Armed Islamic Group (GIA) militants Fateh Kamel and Karim
              Said Atmani—came narrowly close to succeeding penetrating U.S.
              borders with over 100 pounds of high explosive.
            o In late 1998, Montreal cell member Ahmed Ressam met with several other
              comrades and Al-Qaida representatives in Afghanistan. They agreed to
              return to Canada in three carefully programmed phases. Atmani was
              scheduled to arrive in Montreal in the third and final phase. Upon the
              successful return of all the cell members, Atmani, Ressam, and the others
              were planning to commit a series of Roubaix-style operations (mainly

84
   Bin Baaz, Shaykh Abdul-Azeez. The Ideological Attack. Message of Islam Publications; Hounslow,
UK. ©1999. Pages 42-43.
85
   Muhammad, Shaykh Omar Bakri. “An Open Call to Sheikh Osama Bin Laden.” July 15, 1999.
http://www.almuhajiroun.com.
86
   Muhammad, Shaykh Omar Bakri. “An Open Call to Sheikh Osama Bin Laden.” July 15, 1999.
http://www.almuhajiroun.com.


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              bank robberies) in order to finance a major terrorist strike against the
              United States; specifically, a massive bomb explosion at Los Angeles
              International Airport coinciding with the start of the new millenium.
            o The choice was made because “an airport is sensitive politically and
              economically.”87 Ressam later admitted in court the chilling details of his
              plan: “I will go to the city of Los Angeles. I will surveil the airport. I will
              survey the airports until I find one—a good one, and then I will bring a
              cart that is used for luggage. I will put the cart in a place that is not
              suspicious and then I will observe the reaction of security, how long it
              took them to observe it… this was for rehearsal only.” Upon the
              execution of the actual plot, “I will first try to put the explosives in one
              suitcase and if there was not enough room in one suitcase, then I would
              use another suitcase.”88

     -   January 2000 – Prelude to the Cole bombing in Yemen

            o In early January 2000, a group of Al-Qaida operatives made a failed
              attempt to sink the U.S. naval warship The Sullivans while it refueled in
              Aden harbor. The warship was to be targeted in a suicide attack involving
              a small boat packed with explosives. In this case, the boat was overloaded
              and sank before it could reach The Sullivans.
            o The failed plot was allegedly masterminded by Abdel Rahim Al-Nashiri,
              who later became Al-Qaida’s chief of operations in the Persian Gulf
              region. Al-Nashiri was reportedly introduced to other terrorist operatives
              active in Yemen in the summer of 1999 by Tawfiq bin Attash (a.k.a.
              Khallad) who had been a combat trainer at an Al-Qaida camp in
              Afghanistan. Following Al-Nashiri’s introduction, one of those he met set
              about obtaining the boat that would be used in the failed attack on USS
              The Sullivans. The same boat was recovered from Aden harbor and used
              again later that year in the successful follow-up attack against the U.S.S.
              Cole.

     -   August 2000 – The Islamic Movement of Uzbekistan in the Ferghana

            o On August 12, the nascent Taliban-allied Islamic Movement of
              Uzbekistan (IMU) took ten mountain climbers hostage, including four
              U.S. citizens. The incident took place in the Kara-Su Valley in a restive
              border region of Krygyzstan.
            o The IMU guerrillas and their hostages were soon surrounded by Kyrgyz
              special-forces troops. After several days of pursuit, the Kyrgyz killed six
              guerrillas, captured two others, and rescued the climbers.


87
   Direct Examination of Ahmed Ressam. United States v. Mokhtar Haouari. United States District Court
Southern District of New York. Case: 00CR15. June 27-July 6, 2001. Page 572.
88
   Direct Examination of Ahmed Ressam. United States v. Mokhtar Haouari. United States District Court
Southern District of New York. Case: 00CR15. June 27-July 6, 2001. Page 573-574.


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     -   October 2000 – The U.S.S. Cole Operation

            o The same explosives-laden boat that failed to hit the U.S.S. Sullivans
              several months earlier slams into the destroyer U.S.S. Cole while refueling
              in the port of Aden, killing 17 American sailors and nearly sinking the
              ship.
            o The Cole operation was masterminded by, among others, Abdel Rahim
              Al-Nashiri, Tawfiq bin Attash (a.k.a. Khallad), and Jamal Badawi. The
              conspiracy came at the direction and urging of Usama Bin Laden, Abu
              Hafs Al-Masri, and other senior Al-Qaida leaders.
            o A lower-level Al-Qaida operative, Fahd Quso, was instructed by his
              commanders to videotape the planned terrorist operation on the U.S.S
              Cole—but overslept and missed an opportunity to record it.

     -   November 2000 – Ash-Shuaibi’s Verdict on the Taliban

            o On November 29, 2000, Sheikh Hammoud Al-Uqlaa' Ash-Shuaibi, a
              leading Islamic cleric in Saudi Arabia, issued a fatwah (religious edict)
              concerning the radical Taliban movement in Afghanistan. Specifically,
              Ash-Shuaibi was responding to unspecified threats from the U.S.
              government to attack the Taliban if they did not turn over Usama Bin
              Laden. The fatwah was reprinted on many Internet Islamic message
              forums and on the former website of Azzam Publications, the premiere
              English-language outlet for Al-Qaida propaganda in the UK.89
            o Ash-Shuaibi gave a full and uncritical endorsement to the Taliban and its
              ruler Mullah Mohammed Omar. According to the fatwah:

                      “Amongst the evidences that the Taliban Government is a Shariah
                       Government is the fact that the disbelieving countries who are
                       enemies of Islam and the Muslims are hostile towards it, have
                       imposed an economic boycott on it, isolated it and tightened their
                       grips on it for no reason other than its adherence to the Deen of
                       Islam… military strikes are about to be carried out on Afghanistan
                       just like America attacked it with Cruise Missiles in 1998. At the
                       same time, these same disbelieving countries continue to support
                       the Opposition Northern Alliance (of Ahmad Shah Masood) with
                       funds, weapons and advisors. This itself is clear evidence on the
                       Shariah implementation of the Taliban Government and that they
                       are upon Truth in their fighting against the Northern Alliance.”90
                      “Amongst other reasons that point to the fact the Taliban
                       Government is a Shariah Government is the fact that it fulfils
                       certain criteria as mentioned earlier, with the exception that it is in

89
    http://www.azzam.com/images/talibanhammoudfatwa1.jpg,   http://www.azzam.com/images/taliban
hammoudfatwa2.jpg. February 2001.
90
    http://www.azzam.com/images/talibanhammoudfatwa1.jpg,   http://www.azzam.com/images/taliban
hammoudfatwa2.jpg. February 2001.


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                       urgent need of financial assistance due to its limited financial
                       resources. Therefore we appeal to our Muslim brothers and sisters
                       around the World to assist it with financial and material means and
                       to support it with their media capabilities because the enemies of
                       Islam and their agents have deceived and misguided most of the
                       people until they have become confused as to whether this is a
                       Muslim Government or not.”91
                      “At this time, the Taliban Regime remains in a state of warfare
                       against its opposition, the Northern Alliance, so Jihad with it is
                       ordained by the Shariah because Jihad with the Taliban is against
                       the Northern Alliance which is being funded by the forces of
                       Disbelief like America, Britain and Russia and others who are
                       calling for a broad-based government in Afghanistan established
                       upon a Western legislative system. Since the situation is like this,
                       then indeed it is obligatory to assist the Taliban Regime and to
                       make Jihad with it in order to bring victory to Islam.”92

     -   Summer 2001 – U.S. Embassy in Paris Plot

            o In July 2001, a Franco-Algerian Al-Qaida operative known as Djamal
              Beghal was arrested in the United Arab Emirates en route to Europe fresh
              from a training course in Afghanistan. Beghal was tied to a group of
              Islamic militants spread from the Netherlands to France—who had also
              probably provided the false passports used in the surprise assassination of
              Ahmad Shah Massoud.
            o The cell was led by an intelligent computer engineer named Kamel
              Daoudi, who also served as the alleged bomb maker. The bomb was to be
              constructed out of sulphur and acetone. Nizar Trabelsi, a former soccer
              player from Germany, volunteered to be the suicide bomber. Trabelsi
              planned to strap on the homemade bomb and cover it up underneath a
              business suit. As he entered the U.S. embassy and detonated himself,
              simultaneously, a second truck bomb would be crashed into the U.S.
              cultural center in Paris.
            o Djamal Beghal confessed to being a member of the Tafkir wal-Hijra
              (“Excommunication and Exile”) group, which is a suspected satellite
              group of Al-Qaida. Beghal said that Bin Laden himself had ordered the
              attack and that he had been recruited by the notorious Abu Zubaydah.

     -   August 2001 – Zacarias Moussaoui

            o According to the Congressional 9/11 Investigative Committee, the FBI
              was able to piece together Zacarias Moussaoui’s subsequent entry into the

91
    http://www.azzam.com/images/talibanhammoudfatwa1.jpg,   http://www.azzam.com/images/taliban
hammoudfatwa2.jpg. February 2001.
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    http://www.azzam.com/images/talibanhammoudfatwa1.jpg,   http://www.azzam.com/images/taliban
hammoudfatwa2.jpg. February 2001.


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               U.S.—allegedly to take part in an Al-Qaida terrorist operation. Moussaoui
               first contacted the Airman Flight School in Norman, Oklahoma by e-mail
               in September 2000—expressing an interest in taking flying lessons on a
               small Cesna aircraft. Then, in February 2001, he finally arrived at O’Hare
               Airport in Chicago to start his new training at Airman in Oklahoma.93
               Within weeks of commencing study at Airman, Moussaoui grew unhappy
               with his progress, apparently because Airman only trained for piloting
               private, light planes like the Cessna. By the late summer, Moussaoui had
               moved to Minneapolis, Minnesota to begin pilot training at Pan American
               Flight School, which provided access to a professional Boeing 747 jetliner
               simulator used by real pilots.94
             o Pan American’s then-director of operations, John Rosengren, told
               journalists that Moussaoui was willing to pay approximately $6,800 to
               learn how to fly the complex 747 in only “four or five days.”95 On August
               15, concerned employees at Pan American called the FBI to alert them
               about Moussaoui.96 Though admission to the flight school is open to
               novices, “the typical student has a pilot’s license, is employed by an
               airline, and has several thousand flight hours. Moussaoui had none of
               these qualifications.”97 In fact, he had neither a pilot’s license nor any
               prior significant connection to aviation. Moussaoui defended his interest
               in only learning “the most challenging elements of flying” as an “ego
               boosting thing.”98 Writing an e-mail to an administrator at the Pan
               American school, he described his “dream” to “be able to takeoff and
               land… to be able to successfully navigate from A to B (JFK to Heathrow
               for example)… to be able to pilot one of these Big Bird[sic], even if I am
               not a real professional pilot.”99 The advanced courses would have been
               useless for someone with no knowledge of sophisticated aircraft systems.
               Little comfort was had in Moussaoui’s bizarre and unsettled interest in the




93
   “Report of the Joint Inquiry into the Terrorist Attacks of September 11, 2001.” House Permanent Select
Committee on Intelligence/Senate Select Committee on Intelligence. Senate Report No. 107-351/House
Report No. 107-792. 107th Congress, 2nd Session; December 2002. Pages 330-331.
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   “Report of the Joint Inquiry into the Terrorist Attacks of September 11, 2001.” House Permanent Select
Committee on Intelligence/Senate Select Committee on Intelligence. Senate Report No. 107-351/House
Report No. 107-792. 107th Congress, 2nd Session; December 2002. Pages 315-341.
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   “Before Sept. 11: The Secret History.” Time Magazine. August 12, 2002.
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   “Report of the Joint Inquiry into the Terrorist Attacks of September 11, 2001.” House Permanent Select
Committee on Intelligence/Senate Select Committee on Intelligence. Senate Report No. 107-351/House
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   “Report of the Joint Inquiry into the Terrorist Attacks of September 11, 2001.” House Permanent Select
Committee on Intelligence/Senate Select Committee on Intelligence. Senate Report No. 107-351/House
Report No. 107-792. 107th Congress, 2nd Session; December 2002. Pages 315-341.
99
   E-mail from zuluman tangotango (pilotz123@hotmail.com) to [address redacted]@panamacademy.com.
May 23, 2001. http://www.4law.co.il/586b.jpg.


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               operation of the 747’s doors and control panel.100 Finally, after just two
               days of training, Moussaoui expressed concern to his surprised instructor
               that he didn’t “want it known that he was a Muslim.”101
             o FBI gents in Minneapolis saw Moussaoui as a definite “threat to national
               security.” The Minneapolis Field Office sent a detailed memorandum to
               FBI Headquarters describing their investigation and concluding that
               Moussaoui and other suspects were “conspiring to seize control of an
               airplane.”102 A follow-up e-mail from Minneapolis agents to the RFU
               stressed the “imperative” of notifying the U.S. Secret Service of the threat:
               “[i]f [Moussaoui] seizes an aircraft flying from Heathrow to NYC, it will
               have the fuel on board to reach D.C.”103
             o The CIA, upon learning of the Moussaoui case, sided with the assessment
               of the agents in Minneapolis over FBI Headquarters. Agency officers
               believed that Moussaoui was part of a group of “suspect 747 airline
               attackers” and “suspect airline suicide attacker[s]” who might be
               “involved in a larger plot” to target transatlantic flights between the U.S.
               and Europe.104

      -   September-October 2001 – Abu Hamza congratulates the Hijackers

             o In the immediate wake of the September 11th suicide hijackings, Abu
               Hamza al-Masri offered a sermon at the Finsbury Park Mosque in London
               titled “The World Trade Series: The Believers vs. the [Infidelity] of
               America.”105 To a rapt audience, he thundered, “Terrorism is a tool for
               everybody to get his way. And it has also been a tool for Islam… It is a
               tool, it is a weapon. Allah said, to terrorize the enemies of Allah and your
               enemies, it is a weapon, and it is a very effective weapon. And if you
               leave this weapon, then Allah’s destruction and wrath will be upon
               you.”106



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    “Report of the Joint Inquiry into the Terrorist Attacks of September 11, 2001.” House Permanent Select
Committee on Intelligence/Senate Select Committee on Intelligence. Senate Report No. 107-351/House
Report No. 107-792. 107th Congress, 2nd Session; December 2002. Pages 315-341.
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    “Before Sept. 11: The Secret History.” Time Magazine. August 12, 2002.
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    “Report of the Joint Inquiry into the Terrorist Attacks of September 11, 2001.” House Permanent Select
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    “Report of the Joint Inquiry into the Terrorist Attacks of September 11, 2001.” House Permanent Select
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    “Report of the Joint Inquiry into the Terrorist Attacks of September 11, 2001.” House Permanent Select
Committee on Intelligence/Senate Select Committee on Intelligence. Senate Report No. 107-351/House
Report No. 107-792. 107th Congress, 2nd Session; December 2002. Pages 336-337.
105
    “World Trade Series – ‘The Believers vs. the Kufr of America.’” Friday Khutba given by Abu Hamza
Al-Masri at the Finsbury Park Mosque.
106
    “World Trade Series – ‘The Believers vs. the Kufr of America.’” Friday Khutba given by Abu Hamza
Al-Masri at the Finsbury Park Mosque.


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   -   December 2002 – Shaykh Mohammed Al-Mohaisany’s prayer in Mecca

          o In December 2002, Shaykh Mohammed Al-Mohaisany delivered an
            incendiary, anti-American prayer at the Masjid Al-Haram in Mecca.
            Mohaisany was reportedly arrested by Saudi authorities immediately after
            he made the prayer.

          o Excerpts from the prayer:

                    “Oh Allah to whom he belongs All glory and Grandeur. Oh Allah
                     the Omnipotent the Supreme, the Greatest, the Highest. We ask
                     You of Your glory and power and victory for the Mujahideen in
                     your cause. Oh Allah remain beside them and with them give them
                     triumph and strengthen them. Oh Allah unite their vision them.
                     Focus their aim on their weaponry and consolidate their word. And
                     oh Allah fix their hearts. Oh Allah handle take care of their
                     enemies. O Allah dissipate their congregation, and shatter their
                     integrity. And weaken their strength and throw fear in their hearts.”
                    “To You O Allah do we complain the injustice the injustice of the
                     spiteful Christians.    Oh Allah the night (dark region) of the
                     oppressors has indeed lengthened. The animosity of the atheists
                     has extended deep, and the heads of the criminals, Oh Allah, send
                     upon them the hand from truth to raise with it our humiliation and
                     return us our dignity and destroy our enemy with it. Oh Allah take
                     care of the sources of injustice and oppression, Oh Allah direct
                     your forces against America, the center of kufr and Fasaad. Oh
                     Allah of them are you All-Aware and they spread fasad in your
                     lands. And they killed Your slaves and they insulted Your religion.
                     Oh Allah, of them are You All-Aware and over them All-powerful.
                     Oh Allah direct Your forces against them. Oh Allah send upon
                     them the storm of ‘Aad. And the cry of the thamouad and the
                     typhoon of the people of Noah. O Allah send upon them that which
                     descends from the skies and of that which exudes from the land.
                     Oh Allah disintegrate their country. Oh Allah make them into a
                     divided countries and scattered parties. Oh Allah ever living
                     omnipotent. Make contain them within a fists grip of your slaves.
                     Oh Allah make hurricanes a constant for them… Oh Allah
                     eradicate them with Your power and Omnipotence. Oh Allah
                     make their plots against us a cause for their destruction.”




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